Case 2:06-cr-00032-JLQ   ECF No. 56   filed 08/11/06   PageID.141 Page 1 of 6
Case 2:06-cr-00032-JLQ   ECF No. 56   filed 08/11/06   PageID.142 Page 2 of 6
Case 2:06-cr-00032-JLQ   ECF No. 56   filed 08/11/06   PageID.143 Page 3 of 6
Case 2:06-cr-00032-JLQ   ECF No. 56   filed 08/11/06   PageID.144 Page 4 of 6
Case 2:06-cr-00032-JLQ   ECF No. 56   filed 08/11/06   PageID.145 Page 5 of 6
Case 2:06-cr-00032-JLQ   ECF No. 56   filed 08/11/06   PageID.146 Page 6 of 6
